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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                   Judge Christine M. Arguello

Criminal Action No. 17-cr-334-CMA

UNITED STATES OF AMERICA,

               Plaintiff,
v.

MARCO CASTRO-CRUZ,

               Defendant.


                             MOTION TO RESTRICT DOCUMENT


       COMES NOW, the Defendant Marco Castro-Cruz, by and through his attorney, Boston

H. Stanton, Jr., hereby, respectfully moves to restrict document ECF 36 and attachments, any

order revealing the contents of that document, and the brief filed in support of this motion, for

the reasons stated in the brief filed in support of this motion. The Defendant requests a “Level 2"

Restriction which would make the document, any order reveling the contents of that document

and the brief filed in support of this motion, “viewable by Selected Parties & Court” only.

       Dated this 31st of July, 2019.

                                             Respectfully submitted,
                                             LAW OFFICE OF BOSTON H. STANTON, JR.

                                             s/Boston H. Stanton, Jr.
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                                            of 2




                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 31, 2019, I electronically filed the foregoing MOTION TO
RESTRICT DOCUMENT with the Clerk of the Court using the CM/ECF system, which will
send notification of such filing to all counsel of record, to include the following e-mail addresses:

Guy Till guy.till@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following non
CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
name:

Marco Castro-Cruz
c/o Rivers CI, Winton, NC

                                              s/Boston H. Stanton, Jr.
                                              LAW OFFICE OF BOSTON H. STANTON, JR.




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